Case 1:22-cv-00581-PAB Document 45 Filed 05/12/22 USDC Colorado Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 1:22-cv-00581-PAB

Colorado Montana Wyoming
State Area Conference of the NAACP,
League of Women Voters of Colorado, and
Mi Familia Vota,

        Plaintiffs,

v.

United States Election Integrity Plan, Shawn Smith,
Ashley Epp, and Holly Kasun,

        Defendants.



             PLAINTIFFS’ NOTICE OF WITHDRAWAL OF THEIR MOTION
                  FOR A PRELIMINARY INJUNCTION (Dkt. No. 5.)



        Plaintiffs Colorado Montana Wyoming State Area Conference of the NAACP, League of

Women Voters of Colorado, and Mi Familia Vota (“Plaintiffs”) hereby withdraw their Motion for

Preliminary Injunction (Dkt. No. 5) and respectfully request that the hearing set for June 2, 2022

at 8:30 a.m. be vacated.


Dated: May 12, 2022                          LATHROP GPM LLP

                                             By /s/Amy Erickson
                                             Casey Breese (#51448)
                                             Casey.breese@lathropgpm.com
                                             Jean Paul Bradshaw
                                             Jeanpaul.bradshaw@lathropgpm.com
                                             Dion Farganis
                                             Dion.farganis@lathropgpm.com

                                                1
48851247v1
Case 1:22-cv-00581-PAB Document 45 Filed 05/12/22 USDC Colorado Page 2 of 3




                                  Reid Day
                                  Reid.day@lathropgpm.com
                                  Brian A. Dillon
                                  Brian.dillon@lathropgpm.com
                                  Amy Erickson (#54710)
                                  Amy.erickson@lathropgpm.com
                                  1515 Wynkoop Street, Suite 600
                                  Denver, CO 80202
                                  Telephone: (720) 931-3200

                                  Courtney Hostetler
                                  chostetler@freespeechforpeople.org
                                  John Bonifaz
                                  jbonifaz@freespeechforpeople.org
                                  Ben Clements
                                  bclements@freespeechforpeople.org
                                  Ron Fein
                                  rfein@freespeechforpeople.org
                                  FREE SPEECH FOR PEOPLE
                                  1320 Centre Street, Suite 405
                                  Newton, MA 02459
                                  Telephone: (617) 249-3015

                                  ATTORNEYS FOR Plaintiffs Colorado Montana
                                  Wyoming State Area Conference of the NAACP,
                                  League of Women Voters of Colorado, and
                                  Mi Familia Vota




                                     2
48851247v1
Case 1:22-cv-00581-PAB Document 45 Filed 05/12/22 USDC Colorado Page 3 of 3




                                CERTIFICATE OF SERVICE

       I hereby certify that on May 12, 2022, I electronically filed the foregoing with the Clerk
of Court using the CM/ECF system which will send notification of such filing to the following e-
mail addresses:

 Amy Elizabeth Erickson           amy.erickson@lathropgpm.com,
                               claudia.neal@lathropgpm.com
 Ben Clements                     bclements@freespeechforpeople.org
 Brian Andrew Dillon              brian.dillon@lathropgpm.com,
                               kristina.procai@lathropgpm.com
 Casey Carlton Breese             casey.breese@lathropgpm.com,
                               brandi.pruett@lathropgpm.com,
                               cheyenne.serrano@lathropgpm.com
 Courtney Marie Hostetler         chostetler@freespeechforpeople.org
 Jean Paul Bradshaw               jeanpaul.bradshaw@lathropgpm.com
 Jessica Lynn Hays                jessica@reischlawfirm.com
 R. Scott Reisch                  scott@reischlawfirm.com, cassandra@reischlawfirm.com,
                               Matthew@reischlawfirm.com, Rob@reischlawfirm.com
 Reid Kelly Day                   reid.day@lathropgpm.com,
                               kirsten.hollstrom@lathropgpm.com
 Ronald Andrew Fein               rfein@freespeechforpeople.org
 John C. Bonifaz                 jbonifaz@freespeechforpeople.org


                                            s/Claudia Neal




                                                3
48851247v1
